                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       No. 3:06-CR-123
                                                      )       (JORDAN/GUYTON)
DOUGLAS TROY THOMPSON and                             )
RANDALL THOMPSON,                                     )
                                                      )
               Defendants.                            )


                                MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. Defendant Douglas Troy Thompson, with the consent of Randall Thompson

and the government, has filed a Consent Motion for Continuance [Doc. 63], which is presently

pending before this Court.

       Defendant Douglas Troy Thompson moves to continue the trial date of June 26, 2007. In

support thereof, Defendant notes that a superseding indictment was filed in this matter on June 5,

2007, which alleges new facts and an additional co-conspirator. [Doc. 62]. Therefore, Defendant

argues that additional time is needed to properly prepare for trial. Defendant further represents that

counsel for Defendant Randall Thompson and the United States Attorney’s Office have authorized

counsel for Defendant Douglas Troy Thompson to represent to the Court that they consent to the

continuance. Defendants and the government move to convert the current trial date to an

arraignment date and that a new trial date be selected at that time.




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       For good cause shown, Defendant’s motion [Doc. 63] is GRANTED. On June 26, 2007,

Defendants Douglas Troy Thompson and Randall Thompson will be arraigned on the Superceding

Indictment. A new trial date will be set and Speedy Trial Act findings will be made at their

arraignment.

               IT IS SO ORDERED.

                                                 ENTER:


                                                      s/ H. Bruce Guyton
                                                 United States Magistrate Judge




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